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       ORDERED in the Southern District of Florida on October 24, 2008.



                                                                     Laurel M. Isicoff, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                       www.flsb.uscourts.gov

        In re:
                                                              CASE NO.: 08-23786-BKC-LMI
        MAURICE SYMONETTE
                                                              Chapter 13

                    Debtor.             /


           ORDER DISMISSING CHAPTER 13 CASE WITH PREJUDICE FOR ONE YEAR

                 THIS CAUSE having come before the Court on October 23, 2008, at 10:00 a.m.,

        pursuant to Ocean Bank and Real Estate Property Holdings Corp.’s Motion for Order

        Setting Show Cause Hearing as to Maurice Symonette’s Violation of Bankruptcy Court

        Order [D.E. # 44 in Case No. 08-22795-BKC-LMI]; and the Court having heard argument

        of counsel, and based upon the reasons stated on the record; it is hereby

                 ORDERED as follows:
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                                                                       CASE NO.: 08-23786-BKC-LMI

        1.      This case is dismissed with prejudice for a period of one (1) year from the

date of this Order.

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Submitted by:

Gary M. Freedman
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Copy furnished to:
Gary M. Freedman
Attorney Gary M. Freedman shall serve copies of this Order on all interested parties and file a certificate of
service.




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